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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

AMANDA CROSBY

Plaintiff,

vs.	                                                   CIVIL ACTION NO.

SHERIFF TOMMY J. GREGORY IN HIS
INDIVIDUAL AND OFFICIAL
CAPACITY AS SHERIFF OF CAMDEN
COUNTY, AND THE CAMDEN
COUNTY SHERIFF'S DEPARTMENT

Defendant.


                                       COMPLAINT

        Comes now AMANDA CROSBY, Plaintiff, and respectfully shows the Court as

follows:

                                     JURISDICTION

                                              1.

        Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, and § 1343 in that

a federal question is involved concerning Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. §2000 et M. (hereinafter "Title VII"), the Pregnancy Discrimination

Act, 42 U.S.C. §2000 e(k) (1) (3) (hereinafter "PDA"), and the Family Medical Leave Act of

1993, 29 U.S.C. §2601 et seq. Plaintiff seeks a remedy for gender and/or pregnancy

discrimination, and for retaliation under the Pregnancy Discrimination Act and the Family

Medical Leave Act. The Court has supplemental jurisdiction over Plaintiffs state law claims

under 28 U.S.C. §1367.




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                                          VENUE

                                             2.

       Venue is properly laid in this Court in that Plaintiff is a resident of Kingsland,

Camden County, Georgia, and the incidents complained of occurred in this judicial district

and division, and the Defendant conducts business in this judicial district and division.

                                         PARTIES

                                             3.

       Plaintiff Amanda Crosby is a citizen of the United States and a resident of Camden

County, Georgia. Prior to her termination, Plaintiff was employed as Sergeant/Supervisor

over Courthouse Security for Camden County. Plaintiff was employed by the Camden

County Sheriff's Department for over eleven (11) years.

                                             El

       Defendants are Sheriff Tommy J. Gregory, in his official capacity as the Sheriff of

Camden County, and the Sheriff's Department of Camden County, Georgia. Sheriff Gregory

may be served by serving him at his official address, which is as follows:

                               Camden County Sheriff's Office
                               209 East 4th Street
                               Woodbine, GA 31569



        At all relevant times, Plaintiff was under the direct supervision of Sheriff Tommy J.

Gregory, who is currently serving as Sheriff of Camden County, Georgia

                                              6.

        At all relevant times, Plaintiff was employed as Sergeant/Supervisor over Courthouse

Security for Camden County.


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                                                VA


       Plaintiff has been employed by the Camden County Sheriffs Department for over

eleven years.

                                               8.

       At all relevant times, Plaintiff was an employee of the Camden County Sheriff's

Department within the meaning of the Pregnancy Discrimination Act and Title VII. Plaintiff

is a female and is thereby a member of a class protected by 42 U.S.C.A. §1981.

                                   CAUSE OF ACTION

                                               9.


       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §331, and §1343 and

42 U.S.C. §2000 (e)5 (f) (3), in that this is an action to recover damages for violation of an

act of Congress providing for equal rights of citizens.

                                              10.

       Defendant Camden County Sheriffs Department employs fifteen               (15)   or more

employees and is an employer within the meaning of §701 of Title VII of the Civil Rights

Act of 1964, 42 U.S.C. §2000 e, et M.

                                              11.

       This is an action for pregnancy discrimination pursuant to §703 of Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e, et q., and the Pregnancy

Discrimination Act (Public Law    95-555,   02 stat.2076), and for retaliation under the Family

Medical Leave Act, 29 U.S.C. § 1601.




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                                               12.

       Plaintiff filed a charge of pregnancy discrimination with the Equal Employment

Opportunity Commission ("EEOC") within one hundred and eighty (180) days of the

occurrence of the acts of which she complains.

                                               13.

        On or after May 16, 2012, Plaintiff received a Notice of Right to Sue from the Equal

Employment Opportunity Commission. A true and correct copy of this Notice of Right to

Sue is attached hereto as Exhibit "A". This civil action is instituted in the appropriate federal

district court within ninety (90) days of the receipt of said notice.

                                               14.

        All pre-conditions necessary for filing this action have been met.

                                         COUNT ONE

                            PREGNANCY DISCRIMINATION

                                               15.

        On January 5, 2009, Plaintiff began working as a Sergeant/Supervisor of Courthouse

Security for the Defendants in the Camden County Sheriffs Office located in Woodbine

Camden County, Georgia.

                                               16.

        In 2010, Plaintiff became pregnant and notified her employer of her pregnancy soon

thereafter.

                                               17.

        Plaintiff took twelve (12) weeks of maternity leave, as allowed by Defendants'

policies and procedures and by the Family Medical Leave Act.


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                                           18.

       Plaintiff returned to her job as Sergeant/Supervisor of Courthouse Security in

February, 2011.

                                           19.

       On March 10, 2011, approximately three weeks after the day that she returned from

maternity leave, Sheriff Tommy J. Gregory informed her that her employment with

Defendants was terminated, effective immediately.

                                           20.

       On or about March 10, 2011, Plaintiff s employment with Defendants was terminated

because of her pregnancy, and because she took leave pursuant to the FMLA.

                                           21.

       Defendants replaced Plaintiff with a different employee who was not pregnant.

                                     COUNT TWO

                         RETALIATION UNDER THE PDA

                                           22.

       Defendant retaliated against Plaintiff after she filed her Charge with the Equal

Employment Opportunity Commission by withholding her certification as a Corrections

Officer.

                                           23.

       This caused Plaintiff to be ineligible for employment in the field in which she had

been working for over eleven (11) years.




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                                               24.

          Defendant was fully aware that by withholding Plaintiff's certification, he was

preventing her from being able to secure employment in Corrections and Law Enforcement.

                                       COUNT THREE

                           RETALIATION UNDER THE FMLA

                                               25.

          Plaintiff realleges the foregoing paragraphs and incorporates them as if re-stated

herein.

                                               26.

          Plaintiff took the leave she was entitled to take under the FMLA for the birth of her

child.

                                               27.

          Defendant terminated Plaintiff from her employment because she took leave pursuant

to the FMLA.

                                              28.

          Defendant engaged in the discriminatory practices set forth above with knowledge of

the FMLA with reckless indifference to the federally-protected rights of Plaintiff.

                                             29.

          Plaintiff is entitled to all damages and remedies allowed under the FMLA, including

reinstatement, past and future lost wages, employment benefits, liquidated damages in the

amount of the foregoing, plus any actual monetary losses sustained by Plaintiff as a direct

result of the violation, plus interest, a reasonable attorney's fee, reasonable expert witnesses'

fees, and other costs of the action.
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                                               III!

          Accordingly, Plaintiff is entitled to reinstatement and damages.

                                         COUNT FOUR

                                    EQUITABLE RELIEF

                                                31.

          Plaintiff realleges the foregoing paragraphs and incorporates them as if re-stated

herein.

                                                32.

          Plaintiff will suffer irreparable harm, having no adequate remedy at law, unless equity

intervenes to: 1) restrain and enjoin Defendant from interfering with Plaintiff's rights in

employment; 2) restrain and enjoin Defendant from discriminating against her; and 3) require

Defendant to cause Plaintiff to be restored to her rightful position, or, in the alternative,

restore all of Plaintiff's lost wages and benefits of employment.

                                           DAMAGES

                                                W

          Defendant's actions directly and proximately caused Plaintiff to lose wages, medical

insurance and all other benefits provided through her employment.

                                                34.

          Plaintiff has been unable to obtain employment since she was wrongfully terminated

by Defendant.



          Plaintiff has been unable to obtain employment since the time that she was

wrongfully terminated by Defendant because Defendant has intentionally withheld her law


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enforcement certification.

       WHEREFORE, Plaintiff prays:

       A.	     Pursuant to the FIRST AND SECOND CAUSE OF ACTION;

               1)     That the Court impanel a jury to hear her cause;

               2)     the Court find and declare that Plaintiff has suffered from acts of

                      pregnancy discrimination and retaliation at the hands of Defendants,

                       or their agents, servants, and employees;

               3)     That the Court order that Plaintiff be reinstated as of March 10, 2011

                      to the position of Sergeant/Security Supervisor over Courthouse

                       Security;

               4)     That Plaintiff be reinstated with any promotion she would have

                       received had she not been wrongfully terminated;

               5)     That Plaintiff be awarded the back pay she would have earned

                      together with interest and related monetary and other benefits Plaintiff

                       would have received had she not been wrongfully terminated on

                       March 10, 2011;

               6)      In the alternative, if reinstatement is not feasible, Plaintiff seeks front

                       pay and benefits;

               7)      That the Court order such further equitable and injunctive relief as it

                      deems appropriate and necessary to correct the conditions of

                       discrimination complained of herein;

               8)     That Defendant pay Plaintiff's costs of this suit, together with

                       reasonable attorney's fees and litigation costs, and

                                               8
	

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              9)	    That sick pay and vacation pay which she was wrongfully denied,

                     plus interest on such same sum as the jury deems proper;

              10) That Plaintiff be awarded all appropriate and allowable damages

                     against Defendant warranted by the evidence to be shown at trial;

       B. Pursuant to Plaintiff's THIRD CAUSE OF ACTION:

              11)	   That Plaintiff be awarded all appropriate and allowable damages under

                     the FMLA, including liquidated damages on any wages, salary,

                     employment benefits or other compensation denied or lost to Plaintiff

                      by reason of violation of the FMLA, plus interest calculated at the

                      prevailing rate;

              12) That Plaintiff be awarded an additional amount as liquidated damages

                      equal to the sum of the amount set forth above, and to be proven at

                      trial;

              13)	    That Plaintiff be awarded fees and costs;

              14)	    That Plaintiff be awarded a reasonable attorney's fee;

              15)	    That Plaintiff be awarded reasonable expert witness fees;

              16)	    All other costs of this action and amounts which the Court deems

                      proper and just;

              17)	    Any other equitable relief to which Plaintiff may be entitled.

       C. Pursuant to Plaintiff's FOURTH CLAIM FOR RELIEF:

              18)	    That this Court reinstate Plaintiff to her previous position.

       This 9th day of August, 2012.
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                                  Respectfully submitted,



                                  s/Rita C. Spalding
                                  Rita C. Spalding
                                  Attorney for Plaintiff
                                  Georgia Bar No. 108640




1522 Richmond Street
Brunswick, GA 31520
912-261-8686 Telephone
912-261-8689 Facsimile




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CEOC Form 161 (i1)	                       U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                  DISMISSAL AND NOTICE OF RIGHTS
To:    Amanda G. Crosby	                                                                  From:   Atlanta District Office
       205 Old Pond Drive, West	                                                                  100 Alabama Street, S.W.
       Kingsland, GA 31548	                                                                       Suite 4R30
                                                                                                  Atlanta, GA 30303


                             On behalf of person(s) aggrieved whose identity is
                             CONFIDENTIAL (29 CFR §1601.7(a))
 EEOC Charge No.	                                EEOC Representative	                                                  Telephone No.
                                                 Trey Pyle,
415-2011-00649	                                  Federal Investigator	                                                 (404) 562-6831
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:

       	I         The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                  Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                  The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                  Your charge was not timely filed with EEOC in other words, you waited too long after the date(s) of the alleged
                  discrimination to file your charge
                  The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                  information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                  the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
                  The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                  Other (briefly state)


                                                          -   NOTICE OF SUIT RIGHTS -
                                                    (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice: or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be $i                      feeal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means na                        kpay)dueJr any violations that occurred more than 2 years 3 years)
before you file suit may not be coIIectilJ
                                                                                              	
                                                                                        the
                                                                                                                              MAY 14 2012

Enclosures(s) 	                                                                     	                                         (Date Mailed)
                                                                      Williams
                                                                     District Dii
cc:	       Charles Dorminy, LL.M.
           HALL BOOTH SMITH & S LOVER, P.C.
           3528 Daurien Highway, Suite 300
           Brunswick, GA 31525
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STATE OF GEORGIA

COUNTY OF GLYNN


                                 VERIFICATION

       PERSONALLY appeared before the undersigned attesting official duly

authorized to administer oaths, AMANDA CROSBY duly sworn deposes and states

on oath that the facts, contained in the foregoing COMPLAINT are true and correct

to the best of her knowledge, information and belief.




                                        U :iriiimi



Sworn to and subscribed before me,
this the_9.tL' day of July, 2012
